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 5
     Attorney for Defendant
 6   DONNA M. ROSENAU
 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                         )
11                                                     )
                               Plaintiff,              )       Cr. No. S-10-210 WBS
12                                                     )
                                                       )       STIPULATION AND
13                     v.                              )       ORDER TO CONTINUE STATUS
                                                       )       CONFERENCE AND FINDING
14                                                     )       OF EXCLUDABLE TIME
     ROBERT E. ROSENAU and                             )
15   DONNA M. ROSENAU,                                 )       Date: August 30, 2010
                                                       )       Time: 8:30 a.m.
16                             Defendants.             )       Judge: William B. Shubb
                                                       )
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                The United States of America, through Assistant U.S. Attorney Camil A. Skipper, and
18
     defendant Robert E. Rosenau, through his counsel Jeffrey L. Staniels, and defendant Donna M.
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     Rosenau, through her counsel Scott L. Tedmon, hereby stipulate and agree as follows:
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                1. The current status conference in this case is set for Monday, August 30, 2010 at 8:30 a.m.
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                2. The government has provided 4,903 pages of discovery to defense counsel. Counsel for
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     defendants are in the midst of reviewing this volume of discovery and need additional time to
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     continue that process as well as identify legal issues and the discuss the matter with their respective
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     clients.
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                3. As such, government and defense counsel stipulate it is appropriate to continue the current
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     status conference to Monday, November 1, 2010 at 8:30 a.m. The Court’s availability for the
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     November 1, 2010 status conference date has been confirmed. No jury trial date has been set in this
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 1   case.
 2             4. Accordingly, the parties stipulate the Court should find that time be excluded through
 3   November 1, 2010 under the Speedy Trial Act based on need of counsel to prepare pursuant to 18
 4   U.S.C. §3161(h)(7)(B)(iv), [Local Code T4], and that the ends of justice therefore outweigh the best
 5   interest of the public in a speedy trial.
 6             Finally, Scott L. Tedmon has been authorized by all counsel to sign this stipulation on their
 7   behalf.
 8   IT IS SO STIPULATED.
 9   DATED: August 25, 2010                          BENJAMIN B. WAGNER
                                                     United States Attorney
10
                                                     /s/ Camil A. Skipper
11                                                   CAMIL A. SKIPPER
                                                     Assistant United States Attorney
12
13   DATED: August 25, 2010                          DANIEL J. BRODERICK
                                                     Federal Defender
14
                                                      /s/ Jeffrey L. Staniels
15                                                   JEFFREY L. STANIELS
                                                     Assistant Federal Defender
16                                                   Attorney for Defendant Robert E. Rosenau
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     DATED: August 25, 2010                          LAW OFFICES OF SCOTT L. TEDMON
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                                                     /s/ Scott L. Tedmon
19                                                   SCOTT L. TEDMON
                                                     Attorney for Donna M. Rosenau
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 1                                                ORDER
 2          GOOD CAUSE APPEARING and based upon the above stipulation, the Court finds that
 3   time be excluded under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), [Local Code
 4   T4], reasonable time necessary for effective counsel preparation, and that the ends of justice
 5   therefore outweigh the best interest of the public in a speedy trial. Accordingly,
 6          IT IS ORDERED that this matter is continued to Monday, November 1, 2010, at 8:30 a.m.,
 7   for further status conference.
 8          IT IS FURTHER ORDERED that pursuant to 18 U.S.C. §3161(h)(7)(B)(iv), [Local Code
 9   T4], the period from August 30, 2010, to and including November 1, 2010, is excluded from the time
10   computations required by the Speedy Trial Act.
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12          IT IS SO ORDERED.
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14   DATED: August 26, 2010
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